Case 1:16-cr-00007-IMK-MJA Document 66 Filed 04/14/16 Page 1 of 4 PageID #: 140



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                   CRIMINAL NO. 1:16CR07-02
                                                (Judge Keeley)


 CRIAG COFFEE,

                  Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO. 55) AND SCHEDULING SENTENCING HEARING

      On March 30, 2016, the defendant, Craig Coffee (“Coffee”),

 appeared before United States Magistrate Judge Michael J. Aloi and

 moved for permission to enter a plea of guilty to Count Three of

 the Indictment. After Coffee stated that he understood that the

 magistrate    judge   is   not   a   United   States   District   Judge,     he

 consented to tendering his plea before the magistrate judge.

 Previously,    this   Court   had    referred   the    guilty   plea   to   the

 magistrate judge for the purposes of administering the allocution

 pursuant to Federal Rule of Criminal Procedure 11, making a finding

 as to whether the plea was knowingly and voluntarily entered, and

 recommending to this Court whether the plea should be accepted.

      Based upon Coffee’s statements during the plea hearing and the

 testimony of Sgt. John Rogers, West Virginia State Police, the

 magistrate judge found that Coffee was competent to enter a plea,

 that the plea was freely and voluntarily given, that he was aware
Case 1:16-cr-00007-IMK-MJA Document 66 Filed 04/14/16 Page 2 of 4 PageID #: 141



 USA v. COFFEE                                                  1:16CR07-02

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.55) AND SCHEDULING SENTENCING HEARING

 of the nature of the charges against him and the consequences of

 his plea, and that a factual basis existed for the tendered plea.

 On March 30, 2016, the magistrate judge entered a Report and

 Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

 (dkt. no. 55) finding a factual basis for the plea and recommending

 that this Court accept Coffee’s plea of guilty to Count Three of

 the Indictment.

      The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Coffee’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Three of the Indictment.

      Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



                                      2
Case 1:16-cr-00007-IMK-MJA Document 66 Filed 04/14/16 Page 3 of 4 PageID #: 142



 USA v. COFFEE                                                  1:16CR07-02

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.55) AND SCHEDULING SENTENCING HEARING

      Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

      1.    The Probation Officer shall undertake a presentence

 investigation of Coffee and prepare a presentence report for the

 Court;

      2.    The Government and Coffee are to provide their versions

 of the offense to the probation officer by April 28, 2016;

      3.    The presentence report is to be disclosed to Coffee,

 defense counsel, and the United States on or before June 27, 2016;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

      4.    Counsel may file written objections to the presentence

 report on or before July 11, 2016;

      5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before July 25, 2016; and

      6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual basis from the statements or motions, on or before August

 8, 2016.




                                      3
Case 1:16-cr-00007-IMK-MJA Document 66 Filed 04/14/16 Page 4 of 4 PageID #: 143



 USA v. COFFEE                                                  1:16CR07-02

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.55) AND SCHEDULING SENTENCING HEARING

      The magistrate judge remanded Coffee to the custody of the

 United States Marshal Service.

      The   Court   will   conduct    the   sentencing    hearing   for   the

 defendant on Thursday, August 18, 2016, at 11:00 A.M., at the

 Clarksburg, West Virginia, point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: April 14, 2016


                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




                                       4
